                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                 No. 02-24-00220-CV

PRO-HEALTH PODIATRY P.A.,                  §    On Appeal from the 348th District
Appellant                                       Court

V.
                                           §    of Tarrant County (348-D35847-23)
TARRANT COUNTY, CITY OF
ARLINGTON, CITY OF GRAND PRAIRIE,
ARLINGTON INDEPENDENT SCHOOL
DISTRICT, TARRANT COUNTY                   §    August 22, 2024
COLLEGE DISTRICT, AND TARRANT
COUNTY HOSPITAL DISTRICT,
Appellees                                  §     Per Curiam Memorandum Opinion

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that the

appeal should be dismissed. It is ordered that the appeal is dismissed.


                                      SECOND DISTRICT COURT OF APPEALS

                                      PER CURIAM
